                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                 CR 18-33-GF-BMM-JTJ

                 Plaintiff,                 FINDINGS AND
                                          RECOMMENDATIONS
       vs.

 KYLE KANE KICKING WOMAN,

                 Defendant.


                                  I. Synopsis

      Defendant Kyle Kane Kicking Woman (Kicking Woman) has been accused

of violating the conditions of his supervised release. Kicking Woman admitted all

of the alleged violations. Kicking Woman's supervised release should be revoked.

Kicking Woman should be placed in custody until 1:00 p.m. on November 4, 2019,

with 29 months of supervised release to follow. Kicking Woman should serve the

first 60 days of supervised release at Connections Corrections in Warm Springs,

Montana.

                                   II. Status

      Kicking Woman pleaded guilty to Escape on July 10, 2018. (Doc. 20). The

Court sentenced Kicking Woman to 14 months of custody, followed by 3 years of
supervised release. (Doc. 32). Kicking Woman's current term of supervised

release began on April 15, 2019. (Doc. 36 at 1).

      Petition

      The United States Probation Office filed a Petition on May 1, 2019,

requesting that the Court revoke Kicking Woman's supervised release. (Doc. 36).

The Petition alleged that Kicking Woman had violated the conditions of his

supervised release: 1) by failing to report to his probation officer as directed; 2) by

using methamphetamine; 3) by consuming alcohol; and 4) by failing to follow the

instructions of his probation officer.

      Initial appearance

      Kicking Woman appeared before the undersigned for his initial appearance

on October 29, 2019. Kicking Woman was represented by counsel. Kicking

Woman stated that he had read the petition and that he understood the allegations.

Kicking Woman waived his right to a preliminary hearing. The parties consented

to proceed with the revocation hearing before the undersigned.

      Revocation hearing

      The Court conducted a revocation hearing on October 29, 2019. Kicking

Woman admitted that he had violated the conditions of his supervised release:

1) by failing to report to his probation officer as directed; 2) by using

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methamphetamine; 3) by consuming alcohol; and 4) by failing to follow the

instructions of his probation officer. The violations are serious and warrant

revocation of Kicking Woman's supervised release.

       Kicking Woman's violations are Grade C violations. Kicking Woman's

criminal history category is IV. Kicking Woman's underlying offense is a Class D

felony. Kicking Woman could be incarcerated for up to 24 months. Kicking

Woman could be ordered to remain on supervised release for up to 36 months, \ess

any custody time imposed. The United States Sentencing Guidelines call for a

term of custody of 6 to 12 months.

                                   III. Analysis

      Kicking Woman's supervised release should be revoked. Kicking Woman

should be incarcerated until I :00 p.m. on November 4, 2019, with 29 months of

supervised release to follow. Kicking Woman should serve the first 60 days of

supervised release at Connections Corrections in Warm Springs, Montana.

This sentence is sufficient but not greater than necessary.

                                  IV. Conclusion

      The Court informed Kicking Woman that the above sentence would be

recommended to Judge Morris. The Court also informed Kicking Woman of his

right to object to these Findings and Recommendations within 14 days of their


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issuance. The Court explained to Kicking Woman that Judge Morris would

consider a timely objection before making a final determination on whether to

revoke his supervised release and what, if any, sanction to impose. Kicking

Woman stated that he wished to waive his right to object to these Findings and

Recommendations, and that he wished to waive his right to allocute before Judge

Morris.

The Court FINDS:

      That Kyle Kane Kicking Woman violated the conditions of his supervised
      release: by failing to report to his probation officer as directed; by using
      methamphetamine; by consuming alcohol; and by failing to follow the
      instructions of his probation officer.

The Court RECOMMENDS:

      That the District Court revoke Kicking Woman's supervised release
      and commit Kicking Woman to the custody of the United States
      Bureau of Prisons until 1:00 p.m. on November 4, 2019, with 29
      months of supervised release to follow. Kicking Woman should
      serve the first 60 days of supervised release at Connections
      Corrections in Warm Springs, Montana.

        NOTICE OF RIGHT TO OBJECT TO FINDINGS AND
    RECOMMENDATIONS AND CONSEQUENCES OF FAILURE TO
                         OBJECT

      The parties may serve and file written objections to the Findings and

Recommendations within 14 days of their entry, as indicated on the Notice of

Electronic Filing. 28 U.S.C. § 636(b)(! ). A United States district court judge will

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make a de novo determination regarding any portion of the Findings and

Recommendations to which objection is made. The district court judge may

accept, reject, or modify, in whole or in part, the Findings and Recommendations.

Failure to timely file written objections may bar a de novo determination by the

district court judge, and may waive the right to appear and allocute before a

district court judge.

      DATED this 29th day of October, 2019.




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